           Case 2:18-cv-01135 Document 1 Filed 08/02/18 Page 1 of 2


 1   KILPATRICK TOWNSEND & STOCKTON LLP
     CHRISTOPHER T. VARAS (Bar No. 32875)
 2   CVaras@kilpatricktownsend.com
     1420 Fifth Avenue, Suite 3700
 3   Seattle, WA 98101
     Telephone:    206-516-3088
 4   Facsimile:    206-623-6793

 5   Attorneys for Petitioner
     BBC Worldwide Limited t/a BBC Studios (Distribution)
 6
 7
 8                                UNITED STATES DISTRICT COURT
 9                             WESTERN DISTRICT OF WASHINGTON
10
11   IN RE: DMCA SECTION 512(h)                         Case No.:    2:18-cv-1135
     SUBPOENA TO MICROSOFT, INC.
12
                                                        BBC WORLDWIDE LIMITED T/A BBC
13                                                      STUDIOS (DISTRIBUTION)’S REQUEST
                                                        TO THE CLERK FOR ISSUANCE OF A
14                                                      SUBPOENA PURSUANT TO 17 U.S.C. §
                                                        512(h) TO IDENTIFY ALLEGED
15                                                      INFRINGERS
16
17          Petitioner BBC Worldwide Limited t/a BBC Studios (Distribution) (“BBC Studios”), by

18   and through its undersigned counsel of record, hereby requests that the Clerk of this Court issue a

19   subpoena directed to Microsoft, Inc. (“Microsoft”) to identify an alleged infringer or infringers,

20   pursuant to the Digital Millennium Copyright Act (“DMCA”), 17 U.S.C. § 512(h) (the

21   “Subpoena”). A copy of the proposed Subpoena is attached hereto as Exhibit 2 to the Declaration

22   of Christopher T. Varas (“Varas Decl.”).

23          The requested subpoena relates to infringing material that BBC Studios discovered on the

24   website <onedrive.live.com>, which BBC Studios is informed and believes is operated by

25   Microsoft. The infringing material includes, without limitation, an unauthorized copy of

26   copyrighted video content from Season 11, Episode 1 of Doctor Who, for which BBC Worldwide

27   Limited t/a BBC Studios (Distribution) is the exclusive licensee.

28
                                                                KILPATRICK TOWNSEND & STOCKTON LLP
     BBC WORLDWIDE LTD.’S REQUEST FOR ISSUANCE OF A                      1420 FIFTH AVENUE, SUITE 3700
     DMCA SECTION 512(H) SUBPOENA TO MICROSOFT, INC.                                 SEATTLE, WA 98110
     -1-                                                                                   206-467-9600
            Case 2:18-cv-01135 Document 1 Filed 08/02/18 Page 2 of 2


 1           BBC Studios has satisfied the requirements for issuance of a subpoena pursuant to 17

 2   U.S.C. § 512(h), namely:

 3           (1)    BBC Studios has submitted a copy of the notification required by 17 U.S.C. §

 4                  512(c)(3)(A). See Varas Decl. ¶ 3, Ex. 1.

 5           (2)    BBC Studios has submitted the proposed Subpoena concurrently herewith. See

 6                  Varas Decl. ¶ 5, Ex. 2.

 7           (3)    BBC Studios has submitted a sworn declaration confirming that the purpose for

 8                  which the Subpoena is sought is to obtain the identity of the alleged infringer or

 9                  infringers, and that such information will only be used for the purpose of protecting

10                  rights under Title 17 U.S.C. § 512(h)(2). See Varas Decl. ¶ 4.

11           Because BBC Studios has complied with the statutory requirements, BBC Studios

12   respectfully requests that the Clerk expeditiously issue and sign the proposed Subpoena pursuant

13   to 17 U.S.C. § 512(h)(4) and return it to the undersigned counsel for service on the subpoena

14   recipient.

15
16   DATED: August 2, 2018                 Respectfully submitted,
17                                         KILPATRICK TOWNSEND & STOCKTON LLP
18
19                                         By:
20                                                CHRISTOPHER T. VARAS

21                                         Attorneys for Petitioner BBC Worldwide Limited t/a
                                           BBC Studios (Distribution)
22
23
24
25
26
27
28
                                                                KILPATRICK TOWNSEND & STOCKTON LLP
     BBC WORLDWIDE LTD.’S REQUEST FOR ISSUANCE OF A                      1420 FIFTH AVENUE, SUITE 3700
     DMCA SECTION 512(H) SUBPOENA TO MICROSOFT, INC.                                 SEATTLE, WA 98110
     -2-                                                                                   206-467-9600
